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CHAP. Ul.

An act to oblige the free male inhabi-
tants of this stateabove a certain age
to give assurance of Allegiance to
the same, and for other purposes.

WHEREAS allegiance and protection are recipro- 41 free born
cal, and those who will not bear the former are not en- males, above
titled to the benefits of the latter, Therefore Be it en- 16 years old,
acted by the General Assembly, that all free born male tome ee
inhabitants of this state, above the age of sixteen years, giance.
except imported servants during the time of their ser-
vice, shall, on or before the tenth day of October next,
take and subscribe spe following oath or affirmation
before some one of fhe justices of the peace of thecoun-
ty, city, or borough, where they shall respectively in- -
habit; and the said justice shall give a certificate there-
of to every such person, and the said oath or aflirma-
tion shall be as followeth, viz. ‘L do swear or aflirm,
that I renounce and refuse all allegiance to George the
third, king of Great Britain, his heirs and successours,
and that I will be faithful and bear true allegiance to =
the commonwealth of Virginia, as a free and indepen- ‘
dent state, and that I will not, at any time, do, or cause i
to be done, any matter or thing that will be prejudicial ~
or injurious to the freedom and independence thereof,
as declared by congress; and also, that I will discover’
and make known to some one justice of the peace for .
the said state, all treasons or traiterous conspiracies ~ Vo
which I now or hereafter shall know to be formed against
this or any of the United States of America,’ And the -\ -,
form of the said certificate shall be as follows, to wit:

‘1 do hereby certify, that hath taken Sos
and subscribed the oath or affirmation ofallegiance and r
fidelity, as directed by an act of general assembly inti-
tuled An act to oblige the free male inhabitants of this
state above a certain age to give assurance of allegiance
to the same, and for other purposes. Witaess my hand

and seal, this day of

And be it farther enacted, That the justice of ‘the senitttons to ~
ace before whom such oath or affirmation shall be tert an
subscribed shall keep fair registers of the names of the transmit re-
2

Vou, 1x

Form of the
oath.

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252 LAWS OF VIRGLNIA.

turns to names of the persons.so sworn or affirmed, and the time
clerks of when; and shall, on or before the first day of January
, in every year, transmit, in writing, under his hand and
seal, to the clerk of the court of the county, city, or bo-
rough, a true list of the names of those who, within the
same year, have so sworn or affirmed before them res-

’ pectively.

Persons 9p ep And be it farther enacted, by the authority aforesaid,
pointed to. -Ehat within one mouth after the passing of this act, or
tender oath. at the next succeeding court, the court of every county

in this commonwealth shall appoint some of their mem-

bers to make a tour of the county, and tender the oath

or affirmation aforesaid to every free born male person
renee see above the age of sixteen years, except as before except-
a? *P°* ed; and that in the certificate directed to be returned,

of those who take the oath or affirmation, shall be men-
Recusants to tioned the names of such as refuse. And the justices
be reported tendering such oath or affirmation are hereby directed
leatenart, %0 deliver a list of the names of such recusants to the
who is forth- County lieutenant, or chief commanding officer of the
with to dis- militia, who is hereby authorised and directed forthwith
arm them.  cduse such recusants to be disarmed.

Person dis. Provided, That the person so disarmed shall, never-
armed com- theless, be obliged to attend musters, but shall be ex-
pelled to at: empted from the fines imposed for appearing at such
but exempt- Musters without arms, accoutrements, and ammunition.
edfromfines Ind be it farther enacted, 'That every person above
for notap- the age before mentioned, except as before excepted,
ened refusing or neglecting to take and subscribe the oath
Incapacities OF affirmation aforesaid, shall, during the time of such
of those re- neglect or refusal, be incapable of holding any office
fusing ‘o in this state, serving on juries, suing for any

e the vath : ° .

ofallegi- debts, electing or being elected, or buying lands, tene-
ance. ments, or hereditaments.

And be it farther enacted, That all persons coming

t path to be from any of the other United States into this state are

those com. Uereby required to apply to one of the nearest justices

ing from any after he enters this state, and take or subscribe an oath

of the Uni- or aflirmation, renouncing all allegiance to the king of

ted States. Great Britain, and promising that he will not do any

thing prejudicial to the independence of the United

States of America, as declared by the general congress;

c and upon neglecting so to do, he shall be liable to be

quence of taken before a justice, who shall tender him the said

neglect. oath or affirmation, and upon his refusal to take and

subscribe the same, the said justice shall, and is here-

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by required, to commit him to the jail of the county,
city, or borough, there to remain without bail or main-
prize, until he shall take and subscribe the said oath or
affirmation, or give bond and security immediately to
depart this commonwealth, which bond shall be paya-
ble to the governour, for the time being, for the use of

_ the commonwealth.

Provided nevertheless, That prisoners of war, regu-
lar officers and soldiers in the pay of the continent or Who not
of this state, merchants aid mariners trading in the meaning of
ports of this state from foreign powers in amity with the this act.
nited States, and not become resident, are declared
not to be within the intent and meaning of this act.
And be it farther enacted, ‘That this act shall be pub-
lickly read by the sheriff of every county in this Com- pro. this act
monwealth at the door of the courthouse of his county, to be pub-
on some court day, on or before the first day of Sep- lished.
tember next, and also by every minister of the gospel,
or reader, immediately after divine service, at every
church or meeting-house where they officiate, on some
Sunday within the said time. And every sheriff, win-
ister, or reader, failing so to do, shall forfeit and pay
the sum of ten pounds, to be recovered, with costs, by
the informer, before the court of the county where the
offence shall be committed.

CHAP. IV.

An act for establishing a Loan office (Chan Rev.
Jor thegurpose of borrowing mo- peed
ney for the use of the United States,
and appointing a Commissioner for
supertntending the same.

{. WHEREAS the general congress, onthe third day United
of October last, did resolve that five millions of con- States, loan
tinental dollars should be immediately borrowed for the office :*
use Of the United States of America, for the re-payment Dlishe
of Which money lent, at the end of three. years, with
the interest annually, at the place where the same is
